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                             THE STATE OF NEW HAMPSHIRE

STRAFFORD, SS.                                                              SUPERIOR COURT
                                      219-2023-CV-00069

                                         Melissa Tripp

                                                v.

                                      Exeter Hospital, Inc.

                    NOTICE OF FILING OF NOTICE OF REMOVAL

TO:    Kimberly T. Myers, Clerk
       Strafford County Superior Court
       259 County Farm Road, Suite 301
       Dover, NH, 03820

       PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§1441 and 1446, Defendant,

EXETER HOSPITAL, INC., has this day filed in the Clerk’s Office of the United States District

Court for the District of New Hampshire, Concord, New Hampshire, a Notice of Removal of this

case, as shown by copy attached, and in accordance with the above statute, the State Court

proceedings should proceed no further herein, unless and until the case is remanded.

                                             Respectfully Submitted,
                                             EXETER HOSPITAL, INC.,
                                             By its attorneys,
                                             JACKSON LEWIS P.C.,

Date: April 5, 2023                          By:     /s/K. Joshua Scott
                                                     K. Joshua Scott, NHBA# 17479
                                                     100 International Drive, Suite 363
                                                     Portsmouth, NH 03801
                                                     603.559.2711
                                                     joshua.scott@jacksonlewis.com

                                      Certificate of Service

      I hereby certify that a copy of the foregoing was this day served via email on Leslie H.
Johnson, Esq. (leslie@lesliejohnsonlaw.com), counsel for Plaintiff.

Date: April 5, 2023                          By:     /s/K. Joshua Scott
                                                     K. Joshua Scott
